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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

        UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                 (For Offenses Committed On or After November 1, 1987)
      RAFAEL EMILIO GONZALEZ JUARBE                                     Case Number: 2:10CR00162 -06


                                                                        STEVE TEICH, ESQ.
                                                                        Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to counts: 1 AND 2 of the Superseding Inform ation .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                                                           Date Offense          Count
Title & Section                     Nature of Offense                                      Concluded             Numbers
21 USC 843(b)                       UNLAW FUL USE OF A COMMUNICATION                       1/8/2010              1
                                    FACILITY (Class E Felony)
21 USC 843(b)                       UNLAW FUL USE OF A COMMUNICATION                       1/30/2010             2
                                    FACILITY (Class E Felony)


       The defendant is sentenced as provided in pages 2 through 4 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.


[U]      Counts 1 and 10 of the Indictm ent are dism issed as to this defendant on m otion of the United States.

                           [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States
attorney of m aterial changes in econom ic circum stances.

                                                                                            8/13/2013
                                                                Date of Im position of Judgm ent

                                                                /s/ John A. Mendez
                                                                Signature of Judicial Officer

                                                                JOHN A. M ENDEZ, United States District Judge
                                                                Nam e & Title of Judicial Officer

                                                                8/15/2013
                                                                Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:10CR00162 -06                                                                 Judgment - Page 2 of 4
DEFENDANT:                RAFAEL EMILIO GONZALEZ JUARBE


                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of     48 MONTHS ON CT. 1 AND 39 MONTHS ON CT. 2, TO RUN CONSECUTIVELY, FOR A TOTAL TERM OF 87
MONTHS

[U]     No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court m akes the following recom m endations to the Bureau of Prisons:
        The Court recom m ends that the defendant be incarcerated in a California facility, but only insofar as this accords
        with security classification and space availability. The Court recom m ends the defendant participate in the 500-
        Hour Bureau of Prisons Substance Abuse Treatm ent Program .


[U]     The defendant is rem anded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                 Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                 2:10CR00162 -06                                                                               Judgment - Page 3 of 4
DEFENDANT:                   RAFAEL EMILIO GONZALEZ JUARBE


                                          CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                            Fine                    Restitution
       Totals:                                         $ 200                               $                          $


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed
       below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.




Name of Payee                                       Total Loss*                    Restitution Ordered      Priority or Percentage


       TOTALS:                                           $                                $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                   [ ] fine          [ ] restitution

       [ ] The interest requirement for the                  [ ] fine   [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:10CR00162 -06                                                                            Judgment - Page 4 of 4
DEFENDANT:                   RAFAEL EMILIO GONZALEZ JUARBE

                                                SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $             due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,      [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with             [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of           (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:




[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
